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FOR THE WESTERN DISTRICT OF TENNESSEE q‘un%-\ PH h=OB
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DIANE WOODS, et al.,
Plaintiffs,
No. 05-2308 Ma/An

V.

SHELBY COUNTY, TENNESSEE, et al.,

`_r~_r`_¢\_¢\_¢~_d~_¢\_r~_¢

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the court is defendant Mark Luttrell's April 29, 2005,
“Motion to Dismiss or, in the Alternative, for Summary Judgment.”
Plaintiffs have not yet responded to the motion, and the time for
response has passed. Plaintiffs are hereby ordered to show cause
within eleven (ll) days from the date of this order as to why

Defendant's motion should not be granted.

So ordered this {SL`day of June 2005.

.W/

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

UNITED`TATES ISTRICT COURT - WESTERN DTISICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02308 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

